Case 18-70827-JAD              Doc 42    Filed 10/22/20 Entered 10/22/20 14:57:25                    Desc Main
                                         Document     Page 1 of 2
                                                                                       DEFAULT O/E JAD
                             UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE: Emery B. Gurbal
       Brittany R. Gurbal fka Brittany R Kyler
                               Debtor(s)
                                                                     BK. NO. 18-70827 JAD
Quicken Loans, LLC
                                   Movant                            CHAPTER 13
                          v.
Emery B. Gurbal                                                      Related to Docket #___________
                                                                                          37
Brittany R. Gurbal fka Brittany R Kyler
                                Respondents
                        and
Ronda J. Winnecour, Trustee
                                Additional Respondent



                      ORDER MODIFYING SECTION 362 AUTOMATIC STAY


        AND NOW, this 22ndday of        October    , 2020, upon Motion of Quicken Loans, LLC, it is

         ORDERED THAT: The Motion for Relief from the Automatic Stay of all proceedings is granted
and the Automatic Stay of all proceedings, as provided under Section 362 of the Bankruptcy Abuse
Prevention and Consumer Protection Act of 2005 (The Code), 11 U.S.C. Section 362, is modified with
respect to the subject premises located at 612 Fletcher Rd, Clearfield, PA 16830 (“Property), so as to allow
Movant, its successors or assignees, to proceed with its rights and remedies under the terms of the subject
Mortgage and pursue its in rem State Court remedies including, but not limited to, taking the Property to
Sheriff’s Sale, in addition to potentially pursuing other loss mitigation alternatives including, but not limited
to, a loan modification, short sale or deed-in-lieu of foreclosure. Additionally, any purchaser of the Property
at Sheriff's Sale (or purchaser's assignee) may take any legal action for enforcement of its right to possession
of the Property.



                                                             ____
                                                               ____ __________________________
                                                               ____
                                                             ________________________________
                                                             United
                                                             Unit
                                                                ted States Bankruptcy Judge
           FILED                                              Jeffery A. Deller
           10/22/20 1:50 pm
           CLERK
           U.S. BANKRUPTCY
           COURT - :'3$
Case 18-70827-JAD           Doc 42        Filed 10/22/20 Entered 10/22/20 14:57:25   Desc Main
                                          Document     Page 2 of 2


Emery B. Gurbal
612 Fletcher Road
Clearfield, PA 16830

Brittany R. Gurbal fka Brittany R Kyler
612 Fletcher Road
Clearfield, PA 16830

Kenneth P. Seitz
Law Offices of Kenny P. Seitz
P.O. Box 211
Ligonier, PA 15658
thedebterasers@aol.com

Ronda J. Winnecour
Suite 3250, USX Tower
600 Grant Street
Pittsburgh, PA 15219


KML Law Group, P.C.
701 Market Street, Suite 5000
Philadelphia, PA 19106
